Case 2:03-cr-20169-.]DB Document 529 Filed 05/04/05 Page 1 of 2 Page|D 588

 

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IN THE UNITED sTATES DISTRICT CoURT J
FoR THE WESTERN DIsTRICT oF TENNESSEE 05 t-%:~“n -Ii ‘H 1 l= 142
WESTERN DIVISION
UNITED sTATEs oF AMERICA,
Plaintiff,
vs. Case No. 03cr20169-B
DARREN cox,
Defendant.

 

AMENDED ORI)ER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
lt now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $2,000.00,
payable to Rosalind Cox at **1141 Sara Cv. #2, Mernphis, TN** in full refund of the cash

appearance bond posted herein.

   

 

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J. ANIEL BREEN
U `ted States District Judge

Approved.
Robert R. Di Trolio, Clerk of Court

BY: ZMM/ )@/(”/b/i€/zj

Deputy Clerk

 

UNITED `SETATSDISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

   
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 529 in
case 2:03-CR-20169 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

